Case 22-50035-JPS           Doc 706 Filed 01/05/24 Entered 01/06/24 00:32:08                        Desc
                           Imaged Certificate of Notice Page 1 of 9


SO ORDERED.

SIGNED this 2 day of January, 2024.




                                                    James P. Smith
                                             United States Bankruptcy Judge



                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF GEORGIA
                                   MACON DIVISION

In the Matter of:                             :      Chapter 11
                                              :
TERI G. GALARDI,                              :      Case No. 22-50035-JPS
                                              :

                                             ORDER

       On December 27, 2023, Astrid E. Gabbe filed a motion to amend order relating to this

court’s order of December 19, 2023 authorizing Liquidating Trustee to enter into a settlement

agreement with certain parties. It is hereby ordered as follows:

       1. Jenisee Long and all parties who consented to the December 19, 2023 order shall file a

response to the motion no later than January 22, 2024.

       2. The court will hold an evidentiary hearing with respect to the motion and the responses

thereto on January 30, 2024 at 10:00 a.m. in courtroom A , United States Bankruptcy Court,

Middle District of Georgia, 433 Cherry Street, Macon, GA 31201.

       3. The Clerk of Court shall mail a copy of this order to Jenisee Long, 2107 Center Street,

Covington, KY 41014 and email a copy to her at longjenisee@gmail.com.
Case 22-50035-JPS    Doc 706 Filed 01/05/24 Entered 01/06/24 00:32:08   Desc
                    Imaged Certificate of Notice Page 2 of 9


                           *END OF DOCUMENT*




                                  2
            Case 22-50035-JPS                    Doc 706 Filed 01/05/24 Entered 01/06/24 00:32:08                                               Desc
                                                Imaged Certificate of Notice Page 3 of 9
                                                              United States Bankruptcy Court
                                                                Middle District of Georgia
In re:                                                                                                                 Case No. 22-50035-JPS
Teri G. Galardi                                                                                                        Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113G-5                                                  User: auto                                                                  Page 1 of 7
Date Rcvd: Jan 03, 2024                                               Form ID: pdfntc                                                            Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 05, 2024:
Recip ID                 Recipient Name and Address
db                     + Teri G. Galardi, 2146 Highway 42 South, Flovilla, GA 30216-2318
tr                     + Thomas T. McClendon, as Liquidating Trustee of the, Jones & Walden, 699 Piedmont Avenue, NE, Atlanta, GA 30308-1414
cr                       Christopher Kosachuk, Transferree of Shakir Williams, 854 Pheasant Run Road, West Chester, PA 19382-8144
cr                     + Michael Akemon, The Richards Law Group, LLC, P.O. Box 360295, Decatur, GA 30036-0295
12351843               + Jenisee Long, 2107 Center Street, Covington, KY 41014-1121
12611620               + Joseph R. Guernsey d/b/a, Red Shield Funding, 4681 Carvel Court, Myrtle Beach, SC 29588-8615
12333055               + Mutepe Akemon, P.O. Box 360295, Decatur, GA 30036-0295

TOTAL: 7

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 05, 2024                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 3, 2024 at the address(es) listed
below:
Name                               Email Address
Ainsworth G Dudley
                                   on behalf of Creditor Samantha Holdren adudleylaw@gmail.com

Ainsworth G Dudley
                                   on behalf of Creditor Marleka Williams adudleylaw@gmail.com

Ainsworth G Dudley
                                   on behalf of Creditor Krystall Wright adudleylaw@gmail.com
            Case 22-50035-JPS          Doc 706 Filed 01/05/24 Entered 01/06/24 00:32:08                                                Desc
                                      Imaged Certificate of Notice Page 4 of 9
District/off: 113G-5                                         User: auto                                                                 Page 2 of 7
Date Rcvd: Jan 03, 2024                                      Form ID: pdfntc                                                           Total Noticed: 7
Ainsworth G Dudley
                          on behalf of Defendant Dudley Law LLC adudleylaw@gmail.com

Ainsworth G Dudley
                          on behalf of Cross-Claimant Dudley Law LLC adudleylaw@gmail.com

Ainsworth G Dudley
                          on behalf of Creditor Addie Brooks adudleylaw@gmail.com

Ainsworth G Dudley
                          on behalf of Creditor Latoya Hughes adudleylaw@gmail.com

Ainsworth G Dudley
                          on behalf of Creditor Angela Milner adudleylaw@gmail.com

Astrid E. Gabbe
                          on behalf of Plaintiff Astrid E Gabbe astridgabbe@gmail.com

Astrid E. Gabbe
                          on behalf of Plaintiff Shakir Williams astridgabbe@gmail.com

Astrid E. Gabbe
                          on behalf of Plaintiff Jammie Parker astridgabbe@gmail.com

Astrid E. Gabbe
                          on behalf of Plaintiff Christopher Kosachuk astridgabbe@gmail.com

Brian K. Jordan
                          on behalf of Creditor WELLS FARGO BANK N.A. ecfgamb@aldridgepite.com, bjordan@ecf.courtdrive.com

Christina T. Lanier
                          on behalf of Creditor Internal Revenue Service christina.t.lanier@usdoj.gov southern.taxcivil@usdoj.gov

Christina T. Lanier
                          on behalf of Creditor United States of America christina.t.lanier@usdoj.gov southern.taxcivil@usdoj.gov

Christopher W. Terry
                          on behalf of Debtor Teri G. Galardi chris@boyerterry.com terrycr40028@notify.bestcase.com

Christopher W. Terry
                          on behalf of Plaintiff Teri G. Galardi chris@boyerterry.com terrycr40028@notify.bestcase.com

Elizabeth A. Hardy
                          on behalf of U.S. Trustee U.S. Trustee - MAC elizabeth.a.hardy@usdoj.gov
                          Ustp.region21.mc.ecf@usdoj.gov;elizabeth.hardy.collins@usdoj.gov

Evan Owens Durkovic
                          on behalf of Creditor WELLS FARGO BANK N.A. ecfgamb@aldridgepite.com, edurkovic@ecf.courtdrive.com

Garrett A. Nail
                          on behalf of Plaintiff Emelita P. Sy as the Trustee of the Jack E. Galardi, Jr. Sub-Trust gnail@pgnlaw.com

James D. Silver
                          on behalf of Creditor Power Financial Credit Union jsilver@kklaw.com raldama@kklaw.com

Jason M. Orenstein
                          on behalf of Defendant Astrid E Gabbe jmopclaw@yahoo.com

Jason M. Orenstein
                          on behalf of Plaintiff Astrid E Gabbe jmopclaw@yahoo.com

Jason M. Orenstein
                          on behalf of Creditor Astrid E. Gabbe jmopclaw@yahoo.com

Jason M. Orenstein
                          on behalf of Counter-Defendant Astrid E Gabbe jmopclaw@yahoo.com

Jason M. Orenstein
                          on behalf of Defendant The Law Office of Astrid E. Gabbe P.C. jmopclaw@yahoo.com

Jason M. Orenstein
                          on behalf of Creditor Jammie Parker jmopclaw@yahoo.com

Jason M. Orenstein
                          on behalf of Interested Party The Law Office of Astrid E. Gabbe P.C. jmopclaw@yahoo.com

Jonathan Loegel
                          on behalf of Creditor Georgia Department of Revenue jonathan@loegel.com

Leon Strickland Jones
                          on behalf of Creditor Tania Ramessar ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com
            Case 22-50035-JPS         Doc 706 Filed 01/05/24 Entered 01/06/24 00:32:08                     Desc
                                     Imaged Certificate of Notice Page 5 of 9
District/off: 113G-5                                    User: auto                                          Page 3 of 7
Date Rcvd: Jan 03, 2024                                 Form ID: pdfntc                                    Total Noticed: 7
Leon Strickland Jones
                          on behalf of Creditor Shadana Deleston ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Maria Bush ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Sasha Hollins ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Yamilee Bennett ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Abri Leahong ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Montoyo Minnis ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Princess Callahan ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Yashica Bain ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Kitrea Jackson ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Adia Simmons ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Attorney Jones & Walden LLC ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Shanrika Duhart ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Shanice Bain ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Brittany Walker ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Quina Dopoe ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Marsha Taylor ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Keesha Weems ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Ronika Jones ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Aisha Taliaferro ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Queen Lewis ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Belinda Harris ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com
            Case 22-50035-JPS          Doc 706 Filed 01/05/24 Entered 01/06/24 00:32:08                                 Desc
                                      Imaged Certificate of Notice Page 6 of 9
District/off: 113G-5                                       User: auto                                                    Page 4 of 7
Date Rcvd: Jan 03, 2024                                    Form ID: pdfntc                                              Total Noticed: 7
Leon Strickland Jones
                          on behalf of Creditor Jessica Chatman ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Natonia Bell ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Seleta Stanton ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Jennifer Ridley ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Crystyona Hartzog ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Africa Williams ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Leon Strickland Jones
                          on behalf of Creditor Committee The Committee of Unsecured Creditors ljones@joneswalden.com
                          ewooden@joneswalden.com,cparker@joneswalden.com,jwdistribution@joneswalden.com

Louis G. McBryan
                          on behalf of Defendant Teri G. Galardi lmcbryan@mcbryanlaw.com alepage@mcbryanlaw.com

Louis G. McBryan
                          on behalf of Debtor Teri G. Galardi lmcbryan@mcbryanlaw.com alepage@mcbryanlaw.com

Michael Akemon
                          on behalf of Creditor Yamilee Bennett mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Marquisha Holmes mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor LaKeisha Fenner mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Marqueta Ward mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Elliadria Griffen mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Yashica Bain mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Brandie Robertson mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Lygia Simmons mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Gabrielle Bates mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Angela Coates mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Ashley Armstrong mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Diana Smith mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Cassandra St. Fleur mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Tramaine Moore mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Marei Kahey mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Brittany Gregory mutepe.akemon@richardslegal.com

Michael Akemon
            Case 22-50035-JPS          Doc 706 Filed 01/05/24 Entered 01/06/24 00:32:08                                        Desc
                                      Imaged Certificate of Notice Page 7 of 9
District/off: 113G-5                                      User: auto                                                             Page 5 of 7
Date Rcvd: Jan 03, 2024                                   Form ID: pdfntc                                                       Total Noticed: 7
                          on behalf of Creditor Natonia Bell mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Apeatsiwa Shaw-Taylor mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Shanice Bain mutepe.akemon@richardslegal.com

Michael Akemon
                          on behalf of Creditor Desiree U. Jones mutepe.akemon@richardslegal.com

Robert G. Fenimore
                          on behalf of U.S. Trustee U.S. Trustee - MAC robert.g.fenimore@usdoj.gov Ustp.region21.mc.ecf@usdoj.gov

Roy E. Manoll, III
                          on behalf of Creditor AgSouth Farm Credit ACA kdd@fbglaw.com

Thomas McClendon
                          on behalf of Creditor Keesha Weems tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Marsha Taylor tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Maria Bush tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Addie Brooks tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Kitrea Jackson tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Marleka Williams tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Belinda Harris tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Jennifer Ridley tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Latoya Hughes tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Astrid E. Gabbe tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Sasha Hollins tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Aisha Taliaferro tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Natonia Bell tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Shadana Deleston tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Princess Callahan tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Ronika Jones tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Quina Dopoe tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Shanice Bain tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Seleta Stanton tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Queen Lewis tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Yamilee Bennett tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Krystall Wright tmcclendon@joneswalden.com jwdistribution@joneswalden.com
            Case 22-50035-JPS          Doc 706 Filed 01/05/24 Entered 01/06/24 00:32:08                                         Desc
                                      Imaged Certificate of Notice Page 8 of 9
District/off: 113G-5                                        User: auto                                                            Page 6 of 7
Date Rcvd: Jan 03, 2024                                     Form ID: pdfntc                                                      Total Noticed: 7
Thomas McClendon
                          on behalf of Creditor Tania Ramessar tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Gabrielle Bates tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Angela Milner tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Trustee Thomas T. McClendon as Liquidating Trustee of the Galardi Creditors Trust tmcclendon@joneswalden.com,
                          jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Plaintiff Thomas T. McClendon as Liquidating Trustee for the Galardi Creditor Trust
                          tmcclendon@joneswalden.com, jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Shanrika Duhart tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Jessica Chatman tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Africa Williams tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Marquisha Holmes tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Abri Leahong tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Adia Simmons tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Ashley Armstrong tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Brandie Robertson tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Brittany Walker tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Defendant Thomas T. McClendon as Liquidating Trustee of the Galardi Creditors Trust
                          tmcclendon@joneswalden.com, jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Committee The Committee of Unsecured Creditors tmcclendon@joneswalden.com
                          jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Yashica Bain tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Crystyona Hartzog tmcclendon@joneswalden.com jwdistribution@joneswalden.com

Thomas McClendon
                          on behalf of Creditor Montoyo Minnis tmcclendon@joneswalden.com jwdistribution@joneswalden.com

U.S. Trustee - MAC
                          Ustp.region21.mc.ecf@usdoj.gov

Whitney Warnke Groff
                          on behalf of Creditor Georgia Department of Revenue whitney.groff@cobbcounty.org

Will Bussell Geer
                          on behalf of Plaintiff Emelita P. Sy as the Trustee of the Jack E. Galardi, Jr. Sub-Trust wgeer@rlkglaw.com,
                          notices@nextchapterbk.com;willgeer@ecf.courtdrive.com;2836@notices.nextchapterbk.com;6717577420@filings.docketbird.co
                          m;geer.willb117921@notify.bestcase.com;emiller@rlkglaw.com

Will Bussell Geer
                          on behalf of Plaintiff Jack Galardi Jr. wgeer@rlkglaw.com,
                          notices@nextchapterbk.com;willgeer@ecf.courtdrive.com;2836@notices.nextchapterbk.com;6717577420@filings.docketbird.co
                          m;geer.willb117921@notify.bestcase.com;emiller@rlkglaw.com

Will Bussell Geer
                          on behalf of Creditor JEG Trust - Jack Galardi Jr. Sub-Trust wgeer@rlkglaw.com
                          notices@nextchapterbk.com;willgeer@ecf.courtdrive.com;2836@notices.nextchapterbk.com;6717577420@filings.docketbird.co
                          m;geer.willb117921@notify.bestcase.com;emiller@rlkglaw.com

Will Bussell Geer
            Case 22-50035-JPS         Doc 706 Filed 01/05/24 Entered 01/06/24 00:32:08                                       Desc
                                     Imaged Certificate of Notice Page 9 of 9
District/off: 113G-5                                      User: auto                                                          Page 7 of 7
Date Rcvd: Jan 03, 2024                                   Form ID: pdfntc                                                    Total Noticed: 7
                          on behalf of Creditor Jack Galardi Jr. wgeer@rlkglaw.com,
                          notices@nextchapterbk.com;willgeer@ecf.courtdrive.com;2836@notices.nextchapterbk.com;6717577420@filings.docketbird.co
                          m;geer.willb117921@notify.bestcase.com;emiller@rlkglaw.com

Will Bussell Geer
                          on behalf of Counter-Defendant Jack Galardi Jr. wgeer@rlkglaw.com,
                          notices@nextchapterbk.com;willgeer@ecf.courtdrive.com;2836@notices.nextchapterbk.com;6717577420@filings.docketbird.co
                          m;geer.willb117921@notify.bestcase.com;emiller@rlkglaw.com


TOTAL: 130
